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                  EXHIBIT 1
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NATIONAL
IMMIGRANT
JUSTICE CENTER
A HEARTLAND Al..UANCE PROGRAM

March 14, 2014

Fernando Pineiro, FOIA Officer
Office of Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Washington, D.C. 20528

Re:      FOIA Request-Secure Communities Statistical Monitoring

Dear Officer Pineiro:

This is a request for information under the Freedom of Information Act ("FOIA"), 5 U.S.C.
§552.

We request all records, including electronic records, in the custody or control of the Office
of Civil Rights and Civil Liberties (CRCL) related to the Statistical Monitoring of the
Secure Communities Program.
These records include but are not limited to:
      1. All reports produced related to the Secure Communities Statistical Monitoring, including
         all draft reports and reports produced by contracted statistician(s);
      2. All communications, including emails, with Immigration and Customs Enforcement
         (ICE) and/or contracted statistician(s) regarding Secure Communities Statistical
         Monitoring;
      3. All records related to investigations on jurisdictions where statistical monitoring reports
         revealed "yellow flag" anomalies or were otherwise chosen for further investigation;
      4. All records related to asserting Department of Homeland Security (DHS) Title VI
         jurisdiction in relation to investigation(s) described in Request No. 3;
      5. All communications with the Department of Justice (DOJ) Civil Rights Division
         regarding investigation(s) described in Request No. 3;
      6. All findings produced as part of investigation(s) described in Request No. 3, including
         drafts of findings;
      7. All recommendations to ICE or subject jurisdiction(s) of investigation(s) described in
         Request No. 3, including drafts ofrecommendations;
      8. All revisions to the quarterly statistical review protocol for the Secure Communities
         Statistical Monitoring; and
      9. All communications with DOJ regarding the results of investigation(s) described in
         Request No. 3.


                      Heartland Alliance for Human Needs & Human Rights I National Immigrant Justice Center
   208 S. LaSalle Street, Suite 1300, Chicago, Illinois 60604 I ph: 312-660-1370 I fax: 312-660-1505 I www.immigrantjustice.org
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To facilitate an adequate search for relevant records, attached as Appendix A please find
documents produced by CRCL and ICE describing the Secure Communities Monitoring
Program.
Production Requests

Compact discs are the preferred media. Please produce with the records any metadata and load
files, so that the records can be accessed, searched, and displayed in a manner comparable to an
CRCL user. If codes are employed (including any numerical list of agencies, jails, or police
departments), please also produce any documents in your possession explaining the codes
employed, and what they signify.

If all or part of any of this request is denied, please specify the exemption(s) claimed for
withholding each record. If some portion(s) of the requested records are determined to be
exempt, please provide the remaining non-exempt portions. 5 U.S.C. §552(b). To the extent that
materials are excised, please "black out" these materials, rather than "whiting out" or "cutting
out" these materials. We reserve the right to appeal any decision(s) to withhold information and
expect that you will list the address and office to which such an appeal may be directed. 5
U.S.C. §552(a)(6)(A)(i).

Fee Waivers & Reductions

In amending the FOIA statute, Congress intended for liberal construction of all fee waiver
provisions for non-commercial requesters. See Judicial Watch Inc. v. Rossotti, 326 F.3d 1309,
1312 (D.C. Cir. 2003) ("Congress amended FOIA to ensure that it be 'liberally construed in
favor of waivers of noncommercial requesters.'").

The Requester is entitled to a waiver of all costs because the information sought "is likely to
contribute significantly to public understanding of the operations or activities of the government
and is not primarily in the [Requester's] commercial interest." 5 U.S.C. § 552(a)(4)(A)(iii); 6
C.F.R. §§ 5.1 l(k). The Requester has a proven track-record of compiling and disseminating
information to the public about government functions and activities. We intend to make your
response         and an analysis thereof              publicly available on our website,
www.immigrantjustice.org. The operation of ICE's Secure Communities program, and in
particular concerns of racial-profiling within the program, is an issue of significant public
interest and concern. The Requester has undertaken this work in the public interest and not for
any private commercial interest. The primary purpose of this FOIA request is to obtain
information to further the public's understanding of Secure Communities operation. Access to
this information is a required for the public to meaningfully evaluate the efficacy of the Secure
Communities program in relation to any collateral consequences. The public has an interest in
knowing the operation of this central program to ICE's interior enforcement strategy, as it is now
operational in all law enforcement agencies in the United States. The records sought in this
request will shed light on one of the central public concerns with the program-namely
allegation of racial-profiling within its operation.




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The Requester is also entitled to a waiver of search-related fees as "a representative of the news
media." 5 U.S.C. § 552(a)(4)(A)(ii)(II); 6 C.F.R. § 5.1 l(d)(l). Under the 2007 amendments to
FOIA, "a representative of the news media,'' means "any person or entity that gathers
information of potential interest to a segment of the public, uses its editorial skills to turn the raw
materials into distinct work, and distributes that work to an audience." 5 U.S.C. §
552(a)(4)(A)(ii). "News" means "information that is about current events or that would be of
current interest to the public." Id. Examples of news media entities includes "alternative media"
that disseminate their publications for free "through telecommunications services," i.e., the
internet. Id. As noted above, NIJC has a track record of turning raw material into reports and
other publications for distribution to the general public, which it does at no charge. You should
therefore not charge NIJC any search-related costs for this FOIA request.

The documents subject to this request are not sought for any commercial use. Thus, in the
alternative, we understand that no fee may be charged for the first two hours of search time or for
the first 100 pages of duplication. 5 U.S.C. §552(a)(4)(A)(iv)(II); 6 C.F.R. § 5.l l(d)(3). If you
decline to waive these fees, and if these fees will exceed $100.00, please notify us of the amount
of these fees before fulfilling this request.

Please reply to this request within twenty working days, or as required by statute. 5 U.S.C.
§552(a)(6)(A)(i). If you have any questions regarding this request, please feel free to call me at
my direct line, 312-660-1628.


Sincerely,



Mark Fleming
National Immigrant Justice Center
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Chicago, IL 60604
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        APPENDIX A
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               Homeland
               Security
Secure Communities: Statistical Monitoring
(last revised Nov. 16, 2011)

Through the Secure Communities program, after fingerprints for individuals booked into jails by state and local police
are received by the FBI for checks against various criminal justice databases, those fingerprints are then checked against
Depaitment of Homeland Security (DHS) databases, revealing if a fingerprinted arrestee may be a removable alien. The
data and information available to DHS can offer a window into policing practices that may help identify potential civil
rights issues in state or local law enforcement agencies where Secure Communities is activated.

DHS is committed to ensuring the Secure Communities program incorporates robust civil rights oversight. To that end,
the DHS Office for Civil Rights and Civil Liberties (CRCL) and U.S. Immigration and Customs Enforcement (ICE)
have developed a three-part process for identifying jurisdictions in which further analysis and oversight measures may
be warranted:

1. Statistical monitoring
Each quarter, ICE and CRCL, with the assistance of an outside expert statistician, calculate statistics based on
fingerprint submissions, alien identifications, and underlying demographic and crime data to identify jurisdictions
whose arrest patterns appear unusual or anomalous. A statistical anomaly does not conclusively determine that the
jurisdiction is making inappropriate or unlawful arrests. Rather, the statistics aim to identify a set of jurisdictions for
additional analysis.

The technical details are available here, but the statistics are fairly straightforward. First, for each county where Secure
Communities has been activated, we compare the percentage of all alien arrestee fingerprints that match an immigration
database record to the percentage of that county's population that (based on Census Bureau data) was born abroad.
Second, we compare the number of arrested aliens with immigration records to the overall crime data for the county (as
surveyed by the FBI) multiplied by the percentage of the county's population that was born abroad. And third, we
compare the incidence of less-serious criminal arrests among the identified alien group with the same incidence in the
overall crime data. For each of these metrics, a particularly high score could result from unusual or skewed police
attention to crimes committed by aliens, or it could instead result from a variety of other circumstances. Using these
calculations, CRCL produces a set of approximately two dozen of the highest-ranking jurisdictions for further analysis,
each quarter.

2. Statistical analysis
Having identified jurisdictions to examine, we can then use more resource-intensive and individualized analytic
techniques. In particular, we can review data such as: variation in arrest statistics over time; additional demographic
information; more detailed general arrest and crime information; seasonal variation in crime patterns; comparison to
adjacent jurisdictions; changes in state law, law enforcement policy, or data systems that could produce unusual
statistics; and other data that may have been reported. In addition to purely statistical research, this step can involve
contact with the ICE field office to better understand the characteristics of the jurisdictions.

3. Direct investigation
Where statistical analysis leaves open questions, or where ICE or CRCL have received a complaint meriting
investigation, we will conduct direct, non-statistical inquiries. Such an investigation may involve more traditional civil
rights investigation tools, such as interviews with complainants, law enforcement, and local ICE personnel; review of
documents requested from the agency or agencies involved; site visits; and related methods. DHS will also notify the
Department of Justice of these inquiries at appropriate points.
We anticipate that law enforcement agencies will voluntarily cooperate with our investigations. If necessary, additional
tools exist to encourage cooperation, including adjustments to Secure Communities protocols for the relevant
jurisdiction and using DHS 's Title VI authority if appropriate.
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Secure Communities: Statistical Monitoring
(last revised Nov. 16, 2011)


The Secure Communities program works after fingerprints submitted by police to the FBI for checks
against various criminal justice databases are checked in turn against Department of Homeland
Security (DHS) databases, revealing which fingerprinted arrestees may be removable aliens. Usually
in a matter of hours after fingerprinting, U.S. Immigration and Customs Enforcement (ICE) receives
the names of possibly removable alien arrestees and can determine the appropriate immigration
enforcement action. Secure Communities' principal tool for identification of such persons is its use of
"IDENT/IAFIS interoperability"-a data conduit connecting the FBI's Integrated Automated
Fingerprint Identification System (IAFIS) with DHS US-VISIT's Automated Biometric Identification
System (IDENT).

The data and information available to DHS as a result of Secure Communities' use of IDENT/IAFIS
interoperability offer a window into policing practices that may help identify potential civil rights
problems linked to the program. DHS is committed to ensuring the Secure Communities program
incorporates robust civil rights oversight. To that end, the DHS Office for Civil Rights and Civil
Liberties (CRCL) and ICE have developed a three-part process for identifying jurisdictions in which
further analysis and possibly oversight measures may be warranted:

    •    Statistical monitoring to detect anomalous jurisdictions;
    •    Statistical analysis to understand those anomalies; and
    •    Direct investigation of unresolved anomalies and civil rights complaints.

A. Statistical monitoring
In June 2011 ICE Director John Morton and DHS Officer for Civil Rights and Civil Liberties Margo
Schlanger announced DHS's plan for a quarterly review of Secure Communities-related statistics.
This statistical monitoring initiative is conducted by CRCL staff and an academic expert in
criminological statistics, assisted by ICE staff. The statistical monitoring is designed to identify
jurisdictions with statistically anomalous data. These jurisdictions then receive additional, in-depth
analysis. A statistical anomaly does not conclusively determine that the jurisdiction is making
inappropriate or unlawful arrests. Some anomalies are likely to be pure artifacts of the limited data
available, and not, upon examination, probative of improper practices.

The statistical metrics that have been designed for this initiative aim to identify a set of jurisdictions
for additional analysis, based on the limited available information. The statistical monitoring relies on
several forms of data available from federal sources:

    •    Fingerprint submission counts, reflecting all fingerprint submissions to the FBl's IAFIS in
         counties in which Secure Communities is activated;
    •    Alien fingerprint match counts, indicating that a fingerprint submission corresponds to a
         record of an alien in the DHS ID ENT database;




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    •   American Community Survey (ACS) data on the total and foreign-born population by
        jurisdiction, produced by the U.S. Census Bureau (we use the 5-year survey estimates,
        currently covering years 2005-09, and will update as new data are released); and
    •   Uniform Crime Reports (UCR) data on the number and types of arrests, by reporting agency,
        produced by the FBI as one of its national crime-reporting programs. The raw FBI data are
        adjusted to account for variation in coverage among agencies, and then categorized to
        approximately track the distinction between aggravated felonies and other arrests. (We use
        2008 data, the latest analyzable dataset.)
We aggregate all data at the county level, and remove from the analysis counties with so few IDENT
matches that meaningful statistical analysis is impossible. Results are then separated between larger
(over 100,000 population) and smaller (under 100,000) counties, which tracks a county-size division
used by the UCR. All counties that are activated in Secure Communities for at least one full quarter
are analyzed. For states that do not participate in the UCR program, we substitute state-level crime
reporting data, if data comparable to the UCR are available. When comparing quarterly Secure
Communities data to annual UCR data, we divide the annual UCR figure by four to obtain an average
quarterly value.

The purpose of the review is to choose appropriate jurisdictions for additional analysis; this will focus
on jurisdictions that rank in the top ten among larger counties, or in the top five among smaller
counties, on one of the first two metrics described here; rankings on the third metric primarily serve to
check and prioritize among the jurisdictions that rank high on the first two metrics. To the extent
resources permit, additional jurisdictions may also be analyzed further.

1. Foreign-born arrestee comparison
   Compares !DENT matches as a portion of all fingerprint submissions with foreign-born
   proportion ofpopulation

Secure Communities' use ofIDENT/IAFIS interoperability examines individuals whom !DENT
identifies as aliens-"alien IDENT matches." ID ENT records of known U.S. citizens are disregarded
by Secure Communities.

The first data metric compares the fraction of a county's arrestees who are alien !DENT
matches to the fraction of the county's population that is foreign-born, as determined by the
ACS. We then rank jurisdictions by the extent to which the rate of alien IDENT matches
exceeds the foreign-born population.

                                                    !DENT Matches
               Foreign Born Arrestee Comparison= - - - -Submissions
                                                   IAFIS ------
                                                     %Foreign Born

For example, in a jurisdiction where 20% of submitted fingerprints lead to an alien !DENT match, but
the underlying population is 5% foreign-born, this metric will be 4-and the jurisdiction will rank
higher than a jurisdiction where 20% of arrests are ID ENT matches but 10% of the population is
foreign-born, for which the metric is 2. Jurisdictions that rank high on this measure seem appropriate
for further analysis because those are the jurisdictions where aliens appear to constitute a significantly



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greater fraction of the arrested population than they do of the general population. Sample data and
calculations are provided in part 4, below.

This metric has four important limitations, the first two of which we are working to address across all
jurisdictions, and the last two of which can be taken account of in followup analysis:

       1. Sometimes individuals who are arrested and booked are fingerprinted more than once at
          different points in the criminal justice process. The rate at which individuals are fingerprinted
          multiple times in the process-and accordingly appear more than once in our data set-varies
          from place to place (although early review indicates that the variation is small), and could
          affect the ratio of matches to submissions in particular jurisdictions. We are investigating this
          duplication issue and may in the future adjust the metric to account for variations in duplication
          rates between counties. (The second metric, described below, is duplication-adjusted, which
          minimizes the impact of this data imperfection.)

       2. ID ENT does not cover the foreign-born population at a uniform rate across jurisdictions.
          Persons who have entered without inspection (as by illegally crossing the border between ports
          of entry), and have no prior encounter with federal immigration agencies, will generally not be
          in ID ENT. Communities where such persons make up a higher percentage of aliens will have
          a lower !DENT match rate, relative to the total foreign-born population, than will communities
          where most foreign-born persons, including illegal aliens, entered after inspection (such as by
          overstaying after expiration of a visa). ICE is working to better understand variation in ID ENT
          coverage of the foreign-born population.

       3. In some jurisdictions, a substantial percentage of arrests may be individuals who reside outside
          the jurisdiction. These could include low-population jurisdictions where many arrests involve
          vehicles on a major thruway, urban jurisdictions where a significant fraction of arrestees live in
          adjacent jurisdictions but travel back and forth, or other patterns. A significant mismatch
          between the offender and resident populations could impact the metric, irrespective of
          particular policing practices, as a result of the comparison to the foreign-born resident
          population of the jurisdiction.

       4. This metric could be skewed in jurisdictions that experienced a significant recent change in the
          foreign-born population that was not yet captured by the latest available ACS data.

2. Foreign-born crime comparison
       Compares alien arrest patterns to underlying crime rates

Once a fingerprint submission is identified as an alien !DENT match, ICE's Law Enforcement Support
Center (LESC) reviews additional databases to determine the individual's criminal history, for
purposes of resource prioritization. The LESC flags individuals who have a prior confirmed
conviction for an aggravated felony or are known to have just been arrested for an aggravated felony.
("Aggravated felony" is a term of art in immigration law. 1) We utilize the LESC's limited separation
of aggravated felonies from other felonies and misdemeanors for the second data metric; those aliens



1
    See 8 U.S.C. § l IOI(a)(43) (defining "aggravated felony" to include a wide range of violent and non-violent crimes).


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who have no known prior conviction for, or current arrest for, an aggravated felony are designated
"LESC L2&3."

The second data metric compares the number of ID ENT-matched aliens arrested for non-
aggravated felonies and misdemeanors (and with no prior conviction for an aggravated felony)
to the jurisdiction's overall rate of such arrests, adjusted for the percentage of the jurisdiction's
population that is foreign-born. Patterns showing aliens are arrested at a high rate for minor crimes,
relative to their proportion within the population and the underlying crime incidence may warrant
further analysis.


                                                                            LESC L2&L3
        Foreign Born Crime Comparison=
                                                        1
                                                       4 UCR NonAgg.Fel.Arrestsx % Foreign Born

For example, suppose in one quarter County A has 50 IDENT matches for lesser crimes by aliens
without a known aggravated felony conviction, that it usually has 500 total arrests for lesser crimes in
a quarter (2000 in a year), and that its population is 2% foreign-born. So 1 in 10 lesser-crime arrests is
of an alien whose fingerprints are in IDENT, even though only 1 in 50 people are foreign-born. This
metric would therefore be 5. If in County B, the same rate of 1 in 10 lesser-crime arrests involves an
alien, but the underlying population of County B is 10% foreign-born, this metric would be just 1. For
counties that rank high with respect to this metric, the rate of alien arrests for crimes other than
aggravated felonies appears disproportionate to the underlying population, which could stem from
skewed police attention to lesser crimes committed by aliens, or from a variety of other
circumstances.

This metric has five important limitations; again, we are taking each of these into account:

    1. Although for this metric, we attempt to control for the duplication problem described as
       limitation (1) in the discussion of the first metric above, that ameliorates but does not eliminate
       duplication as an issue. Where possible, we reduce the duplication problem for the Foreign
       Born Crime Comparison by adjusting each jurisdiction's LESC L2&3 number by a duplication
       multiple (calculated by examining all of the ID ENT matches in that jurisdiction in a nine-
       month period to identify multiple submissions2 ). Most jurisdictions have relatively similar
       duplication rates, so this adjustment materially affects the relative order of only a small fraction
       of jurisdictions.

         The duplication rate cannot be calculated for some jurisdictions for technical reasons related to
         the format in which they submit fingerprints to FBI ("National Fingerprint File" (NFF) states).
         For those jurisdictions, we adjust by the mean duplication rate from similarly-sized counties.

    2. The mobile-population issue, described as limitation (3) of the first metric above.

2
 The nine-month window for determining when multiple fingerprint submissions are likely to have arisen from a single
arrest rather than multiple arrests of the same individual was chosen as a reasonable assumption regarding the length of an
arrest cycle. While a different time frame might yield somewhat different duplication results, the range of values is
sufficiently small that we believe that the choice of de-duplication interval is not a significant factor in the rankings on this
metric.


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    3. Aligning underlying crime data with the LESC's separation of aggravated felonies from other
       crimes is imperfect, as "aggravated felony" is not a category used by the UCR. Many offenses
       tracked by the UCR may or may not qualify as aggravated felonies in particular circumstances,
       but this metric necessarily makes a categorical distinction among UCR crimes. 3

    4. Not all counties participate in the UCR, and so may not have comparable underlying crime
       rates for us to review; we use other arrest data, where it is available and comparable to UCR,
       but some jurisdictions cannot be reviewed with this comparison.

    5. The most significant limitation results from LESC's operational goal ofresponding to each
       Secure Communities inquiry within four hours, and the fact that the data the LESC receives
       directly from IDENT/IAFIS interoperability do not include any information on the crime for
       which the individual was arrested and fingerprinted. While the LESC attempts to obtain both
       prior criminal history and information on the instant arrest, its ability to obtain instant-arrest
       information in its limited window of time is highly constrained. As a result, some alien
       IDENT matches that result from an arrest for an aggravated felony are not categorized as Level
       1 leads by the LESC (though ICE field agents escalate a case's priority once they obtain
       information on an aggravated felony arrest). And, conversely, some aliens are classified as
       Level 1 leads by LESC not because of their instant arrest, but because of a known prior
       conviction for an aggravated felony. ICE and the FBI are working on advanced software and
       data-flow procedures that will eventually enable the LESC to have closer to real-time
       information on the severity of instant arrests, but until that technology is available-in a few
       years-LESC data is of real but limited value in determining the kinds of arrests law
       enforcement agencies are making. ICE has, however, undertaken a short-term study to better
       estimate the proportion of aliens categorized as LESC L 1 on each applicable basis. When that
       study is complete, we may be able to improve this metric.

3. Identified alien crime severity comparison
    Compares the severity of offenses among !DENT-identified arrested aliens with the severity among
    the entire population of arrestees
The third metric compares the relative incidence of lesser crimes as a fraction of all crimes among the
general population and the alien population. Like the second metric, the third metric utilizes the
LESC's separation of alien !DENT matches with immediate arrests for, or readily available confirmed
convictions for, aggravated felonies, from the other alien !DENT matches.

We compare the ratio of less-serious crimes to all arrests in the IDENT matches to the
comparable ratio in general crime data.



        Identified Alien Crime Severity Comparison~          rcR   (
                                                                        LESC L2&L3 )
                                                                       ~E11 M;t~1;:'' t
                                                                        on gg. e . rres s )
                                                                       All UCR Arrests


3
 UCR categories DRGSALE, MURDER, RAPE, AGASSLT, ARSON, BURGLRY, ROBBERY, EMBEZL, and WEAPONS are mapped as
aggravated felonies, and all other categories to other crimes.


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Adding to the same County A figures used above, suppose County A has 50 IDENT matches for lesser
crimes (by aliens without a prior aggravated felony conviction), out of 75 total ID ENT matches.
Among all arrests, as reported to the UCR, it has 500 total arrests for lesser crimes, out of 750 total
crimes, in a year. Following the formula above, this metric would be 1. If County B has all the same
figures, except that the total UCR arrests were 1000, this metric would be 1.33. If a county has a high
rank on this metric, it could suggest that enforcement among aliens is particularly concentrated on
minor crimes-arrests for which are more often (but not always) discretionary, and therefore the areas
in which bias might occur. Again, however, there are many reasons for such a result, and the purpose
of this tool is to identify jurisdictions for further analysis.

The formula used for this comparison has the advantage that it should not be affected by duplicate
submissions of fingerprints at various points in the criminal justice process. Otherwise, however, it
shares the limitations discussed for the second metric. Moreover, because of its sensitivity to small
numbers, we only calculate this number for jurisdictions with at least 5 IDENT matches in the quarter.
This metric is principally used to rank jurisdictions that have been identified through one of the prior
two metrics; a jurisdiction that ranks highly only on this metric is unlikely to be a primary focus for
further analysis at this time.

                                               * * *
It is important to remember that ranking jurisdictions, which focuses on the differences among them,
should compensate for some of the data issues described above. In addition, the monitoring we intend
is not akin to an indictment or other declaration of wrongdoing but rather simply a nomination for
additional analysis. To date, ICE and CRCL have been through two quarters of data. We used data
from the second quarter of FY 2011 to refine the metrics; the third quarter of FY 2011 allowed the first
use of the statistical monitoring methodology. We have begun follow-up steps (explained in section B
below).

4. Sample Data and Calculations

The data and metrics are contained in a flat spreadsheet with one record per jurisdiction (county or
county-equivalent). The sample data below illustrate the fields involved in the monitoring metrics
described in this document. (The database also contains additional information on ICE activity.)

Table 1. Sample data used for Secure Communities quarterly reviews
Sam ')/e data: These are not real counties.
                                                                                  LESC    LESC Level
                                                                                 Level l 2&3 (Other
                                   O/o              Est.                          (Agg.     Felony/
                                Foreign- Est. Agg. Lesser           Fingerprint! Felony) Misdemeanor)



                                ...
                                                                                    1
                       • County  born     Felony   Crime DuplicationSubmissions Matches    Matches
 State CountyPopulation Size Residents Arrests Arrests Multiplier (q ua11cr) I(qua rter) (quarter)
       mllmmll
          !
       Gniene
                                Emmi                    I

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                                                                     •      '
                                                                            '
                                                                          1.723
                                                                                .                70
                                                                                                109




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These three large (and fictional) counties (population over 100,000) have certain similarities, but
enough dissimilarities to be difficult to compare directly: Smith is twice as large as Greene, while Ng
falls in the middle; but Smith has three times, and Greene nearly twice, the foreign-born population of
Ng. Smith has the highest overall crime rate (36 crimes per thousand population), and Greene both the
lowest (26 crimes per thousand) and the least serious (10% of crimes are aggravated felonies,
compared to about 16% in Smith and Ng). But it is difficult to determine, just from the raw data, how
the jurisdictions compare with respect to indicia of policing practices disproportionately directed at
minor crimes by foreign-born persons.

We can then compute the metrics:

Table 2. Sample Secure Communities monitoring metrics
Sam le data: These are not real counties.




Greene



Smith ranks highest on metric 1, while Greene ranks highest on metric 2. Smith and Greene rank
comparably on metric 3. Our attention should focus on those two counties; metric 3 provides
additional assurance that Ng is of less concern.

5. Improvements Underway

Better real-time arrest data. ICE does not currently receive analyzable data on the nature of the arrest
for which a fingerprint submission is being made. In other words, we do not know in real time whether
a submission is based on a traffic offense or a violent crime. Accordingly, we rely on follow-up ICE
investigations to make that data available in ICE record systems. Improvements to ICE systems are
now underway that will significantly improve real-time data on the crime prompting an arrest; our
statistical detection tools will improve once that software, part of what ICE terms the Automated
Threat Prioritization initiative, is in place, and the data passed to ICE through interoperability includes
a data field on the offense prompting the instant arrest.

De-duplication. As noted above, one possible reason for anomalous arrests rates of certain types could
be a local practice of running fingerprints at multiple stages of criminal justice processing.
Systematically re-printing individuals would increase biometric submissions, relative to a jurisdiction
that only submits prints once per arrestee, without reflecting any meaningful enforcement difference.
Pursuing this issue requires cooperation and assistance from US-VISIT, the custodian of the IDENT
database, as well as FBI, the custodian of the IAFIS database. That work is well underway.




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B. Statistical analysis
Many of the statistical anomalies identified in the statistical monitoring procedure likely reflect local
crime patterns and legitimate law-enforcement practices. Further statistical analysis will need to be
conducted to determine how to account for those anomalous patterns. For example, if a state LEA' s
mission primarily involves highway patrol, it should have a high rate of traffic stops relative to other
arrests. Again, these investigations will be conducted with ICE's resources and assisted by an expert
criminology statistician retained by CRCL.

Because research will require utilization of data collected by local or state authorities, each of whom
                                                                                                      4
have their own reporting requirements as to extent, frequency, data fields included, and the like, it
will need to be individualized for each jurisdiction. Because it is local, statistical analysis necessarily
relies on a mosaic of data sources and a research design particularized to the enforcement and
information environment. The primary goal for this research will be to obtain data to provide the most
accurate possible assessment of LEA policing practice. We anticipate that in some cases data will be
easily obtained in a form that is easily analyzed. In other situations it may be more expedient to move
to a direct investigation simply because the data collection effort would take more resources than
investigation itself.

ICE and CRCL are committed to the following steps:

    •    Compare current-quarter statistical metrics to results in other quarters
    •    Review ICE administrative arrest and removal statistics from the jurisdiction
    •    Identify any weaknesses in existing data (low or missing coverage for overall crime statistics)
    •    Conduct further database research on the jurisdiction, including:
             o   Additional data on citizenship, other characteristics of the foreign-born population
             o   Additional arrest and crime data, where available, including the FBI National Incident-
                 Based Reporting System (NIBRS)
    •    For agencies that also participate in ICE's 287(g) program, review additional data submitted
         through that program
    •    ICE ERO contacts to the local Field Office to identify possible causes of the statistical
         anomaly, potentially including:
             o   Changes in local law, policy, or political/law enforcement leadership
             o   Demographic characteristics or changes not captured by Census Bureau data
             o   Geographic features (proximity to other population centers, major highways, etc.)
             o    Local data discovery and data entry practices
             o   Perceptions of local policing practices, particularly with respect to minor crimes and
                 with respect to racial/ethnic minorities

4
  For example, Florida does not fully participate in the FBI's UCR program, but provides very similar arrest data through
its own Statistical Analysis Center. See Florida Department of Law Enforcement: Florida Statistical Analysis Center:
Uniform Crime Reports, at l1t! p://www.fdle.state.fl .us/Co11te11t/getdoc/a324add7-5dd6-420 l-9696-93 bfd76bc3 6c/U R-
Home.aspx (last visited July 18, 2011 ).


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    •    Review arrest and conviction history of individuals identified through Secure Communities,
         particularly those identified on the basis of a misdemeanor arrest
    •   Review news accounts, nongovernmental organization reports, and any complaints submitted
        to ICE or CRCL concerning law enforcement practices in the jurisdiction
    •    Determine relevant DHS jurisdiction under Title VI of the Civil Rights Act of 1964
    •   Notify Department of Justice that the jurisdiction is undergoing analysis

C. Direct investigation

Where statistical analysis leaves open questions, or where ICE or CRCL have received a complaint
meriting investigation, we will move to direct, non-statistical investigation. 5 The investigations will
involve, as appropriate for each situation:
    •   Interviews with complainants;
    •   Cooperation with ICE, especially field office personnel, to understand jurisdiction- and LEA-
        specific factors;
    •   Requests for production of documents from the LEA being investigated (as well as, perhaps,
        related LEAs-such as a sheriffs department that runs the jail used by an LEA under
        investigation);
    •   Determination ofDHS's Title VI jurisdiction over the subject LEA;
    •   Notification of the Department ofJustice, Civil Rights Division; and
    •   Interviews, site visits, and other in-person investigative methods.

We anticipate that law enforcement agencies will voluntarily cooperate with our investigations. If
necessary, additional tools exist for securing that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS's Title VI
authority if appropriate.




5
  See Memorandum for All ICE and CRCL Personnel from Margo Schlanger, Officer for Civil Rights and Civil Liberties,
and Gary Mead, Executive Associate Director, ICE, regarding Secure Communities Complaints Involving State or Local
Law Enforcement Agencies (June 14, 2011 ), at http://www.ice.gov/doclib/secure-communities/pdf/complainlprolocol.pclf.


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                                                                       U.S. Department of Homeland Security
                                                                       Washington, DC 20528


                                                                              Homeland
                                                                              Security
June 14, 2011

MEMORANDUlvf FOR:              All ICE and CRCL Personnel

FROM:                          Margo   Schlange:YV'\~ ~~
                               Officer for ivil Rights ar/J Civil Liberties
                               Deparlme.nt   oz·omelfl~ndSecurity
                               Gary Mead
                               E. ecutive Associate E irector
                               U.S. Immigration and Customs Enforcement

SUBJECT:                       Secure Communities Complaints Involving State or Local Law
                               Enforcement Agencies

This memorandum sets out how the Department of Homeland Security (DHS) Office for Civil
Rights and Civil Liberties (CRCL) and U.S. Immigration and Customs Enforcement (ICE) will
address civil rights complaints involving state and local law enforcement and ICE's Secure
Communities program.

I.STRATEGY

Pursuant to CRCL's mandate to "oversee compliance with constitutional, statutory, regulatory,
policy, and other requirements relating to the civil rights and civil liberties of individuals
affected by the programs and activities of the Dcpaitment," 6 U.S.C. § 345(a)(4), CRCL's
Compliance Branch will investigate complaints of racial/ethnic discrimination or profiling or
other civil rights or civil liberties allegations regarding state and local law enforcement agenciesi
conduct in jurisdictions in which ICE's Secure Communities program has been activated.

Secure Communities differs from most other programs involved in CRCL investigations insofar
as civil rights or civil liberties allegations relating to Secure Communities may concern claims of
misconduct by state or local law enforcement officers or agencies, not DHS employees or
contractors, Unlike with its 287(g) program, ICE need not have a formal partnership with the
local law enforcement agencies whose arrests trigger an information flow to ICE through Secure
Communities. CRCL will, therefore, often lack a compulsory process or the ability to require
state and local law enforcement agencies to cooperate in our investigations. Based on varied
factors and relationships, CRCL and ICE will strive to obtain the level of state and local law
enforcement agency cooperation needed and ICE will assist in CRCL 's investigations, including
promoting such cooperation. The tools idemified belO\v will promote production of documents
and witnesses when necessary (see Part 11.D below).
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This process is useful to ensure that OHS's activities do not function as a conduit or incentive for
discriminatory policing, but it is important to note (and ICE will state, if asked) that DHS/ICE
oversight of Secure Communities does not put OHS or ICE in a position to superintend all law
enforcement conduct in jurisdictions where Secure Communities has been activated. It remains
the responsibility of each jurisdiction to abide by its constitutional obligation to avoid
discriminatory policing. Many civil rights and/or community policing mechanisms that may
assist in fulfilling that responsibility have nothing to do with Secure Communities or
immigration enforcement. Accordingly, OHS will not discourage development or use of such
mechanisms.

II. INVESTIGATION PROCESS

Three potential informational sources could lead to a CRCL investigation related to Secure
Communities: (1) complaints alleging misconduct with respect to identifiable individuals or
groups, or a specific law enforcement agency or agencies, received through the CRCL complaint
line or email box or through referral from ICE; (2) statistical anomalies ("yellow flags")
recognized through standing quarterly reviews of Secure Communities data by ICE and CRCL;
and (3) third-party research, such as non-governmental organization (NGO) reports or systematic
media investigations. The appropriate response will generally follow somewhat different
pathways.

ICE will in the first instance direct potential complainants to file their complaint with CRCL, as
is now done through a notice on the Secure Communities web site. Where ICE receives a civil
rights complaint concerning Secure Communities directly, its first step will be to forward the
complaint to CRCL for processing under the methods described here. In an exceptional case
requiring immediate ICE investigation (such as a credible allegation of a practice posing an
immediate threat to life or safety), ICE will promptly notify CRCL of the complaint and facilitate
CRCL's participation in its own investigation.

This memorandum addresses complaints exclusively or principally concerning conduct by a state
or local law enforcement agency in a situation involving Secure Communities. For Secure
Communities civil rights complaints also alleging misconduct by ICE employees or contractors,
CRCL will follow its standard procedures for investigating or, as appropriate, referring
investigations to the ICE Office of Professional Responsibility (QPR) through the Joint Intake
Center (JIC).

ICE and CRCL may also receive nonspecific or programmatic allegations about Secure
Communities that cannot form the basis for a further investigation-a general claim from a
member of the public that the initiative promotes civil rights abuses, for example. It will
generally be appropriate for the recipient, whether ICE or CRCL, to respond to such nonspecific
allegations through its established process for addressing such correspondence, without
implicating this protocol. ICE and CRCL will, however, collaborate on any such correspondence
calling for a considered and coordinated response.




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A. Secure Communities complaints

Upon receipt of a complaint about Secure Communities regarding identifiable persons or groups
in connection with specific law enforcement agencies, CRCL's Compliance Branch will
generally take the following steps:

   1. Notify Secure Communities personnel that the investigation has been initiated. If the
      complaint involves significant allegations against ICE employees or contractors, ICE will
      follow standard procedure for OHS civil rights complaints, including coordination with
      ICEOPR.
   2. Research available law enforcement databases, in particular ICE's ENFORCE and the
      infonnation available through FBI's National Crime lnfonnation Center (NCIC), and
      regular statistical reporting on Secure Communities. This step seeks information about
      both the individuals and encounters identified in the complaint and about the conduct of
      the agency or agencies involved based on statistical reporting.
   3. Interview the individuals identified in the complaint and review any documents they
      provide.
   4. Work with ICE to understand the law enforcement agency or agencies that are the subject
      of the complaint. This step will vary from case to case, but could include interviewing an
      ICE field officer or field office director and requesting documents from the field office.
   5. In some cases, make a limited document request to the law enforcement agency for items
      such as the arrest files on the identified individuals.
   6. Determine DHS's Title VJ jurisdiction by researching whether the subject of the
      complaint is a recipient or sub-recipient ofDHS grants.
   7. Notify the Department ofJustice Civil Rights Division of the investigation.
   8. Jointly investigate the law enforcement agency in question with ICE if a case is opened in
      the ICE Joint Integrity Case Management System (JI CMS). If there is no JICMS case,
      depending upon the circumstances, CRCL will jointly investigate with ICE or will
      investigate independently. This step could include interviews with officers of the
      jurisdiction in question, further document requests, site visits, examination of data sets
      held by the agency, etc. Where there are allegations regarding ICE employees or
      contractors, CRCL will coordinate as appropriate with ICE Office of Professional
      Responsibility (OPR).
   9. Prepare.findings (in conjunction with ICE if a joint investigation), if appropriate.
    10. Prepare recommendations to ICE and/or the subject of the complaint. The scope of
        possible recommendations is discussed further below.
    11. Notify DOJ ofthe results ofthe investigation.

Some of these steps may happen simultaneously, and the process may be pretennitted if an
allegation is determined non-credible, or does not suggest a problem, at an earlier step. Note that
different types of Secure Communities complaints may principally involve either the arresting
agency (usually a police department) or the detaining agency (often a county sheriff operating a

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jail), but we may seek information from the counterpart (arresting or detaining) agency even
where no allegation of misconduct attaches to it directly.

8. Statistical anomalies

ICE and CRCL will jointly design and review regular reports (generated at least once a quarter)
to detect anomalies in arrest patterns or other police conduct in enrolled jurisdictions. These
anomalies, the definition of which will require significant further development beyond the scope
of this document, might surface as deviations from expected benchmarks, or sharp changes in a
jurisdiction's statistics without a ready explanation. If a "yellow flag" anomaly is identified that
warrants further examination, CRCL will:

    1. Collaborate with ICE regarding the anomaly and request information from the field
       office on what might be causing it.
    2. Conduct further database research on the jurisdiction in question, along the lines of a
       "root cause analysis." This research will attempt to gather more particularized data than is
       captured by quarterly reports, and could include geographical detail, numeric identifiers,
       or other analysis to identify the cause of the anomaly.
    3. If these steps cannot resolve the anomaly, CRCL may:
           a. Open a deeper statistical investigation and invite ICE to partner in the
              investigation; and/or
           b. Examine non-database sources to provide concrete facts on which to research the
              agency's conduct. These could be complaints raised by NGOs, in media reports,
              or in correspondence with the Department that had not prompted us to open a
              formal investigation in the absence of the statistical anomaly.
    4. Determine DHS's Title Vljurisdiction by researching whether the subject of the
       investigation is a recipient or subrecipient of DHS grants.
    5. Notify the DOJ Civil Rights Division of our investigation.
    6. Depending upon the circwnstances, investigate the anomaly jointly with ICE, or
       independently. This step could include interviews with officers of the jurisdiction in
       question, further document requests, site visits, etc.
    7. Prepare findings (in conjunction with ICE if a joint investigation), if appropriate.
    8. Prepare recommendations to ICE and/or the subject of the anomaly. The scope of
       possible recommendations is discussed further below.
    9. Revise quarterly statistical review protocol in light oflessons learned.
    10. Notify DOJ oflhe results ofthe investigation.


C. Other external data
Both CRCL and ICE may receive or come to be aware of other sources of non-government data
and research that may facilitate oversight of Secure Communities. ICE and CRCL will consider

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appropriate follow-up action to such research on a case-by-case basis. Where outside research
involves a limited number of specified jurisdictions, a follow-up investigation, if appropriate,
would generally follow the protocol for investigating statistical anomalies, as set forth in part (B)
above, beginning at step 2.


D. Noncooperation
We anticipate that law enforcement agencies will voluntarily cooperate with our investigations.
If necessary, additional tools exist that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS's Title
VI authority if appropriate. (See 6 C.F.R. § 21.9(c) ("Each recipient [ofDHS financial support]
shall permit access by the Secretary during normal business hours to such of its books, records,
accounts, and other sources of information, and its facilities as may be pertinent to ascertain
compliance with [DHS Title VI antidiscrimination regulations].").

III. RECOMMENDATIONS, REFERRALS, AND REMEDIES

On a case by case basis, responding to the particular situation, if CRCL finds civil rights or civil
liberties problems in the course of an investigation, CRCL will provide recommendations, and
may refer the investigation to other government bodies with additional oversight authority.
Recommendations may encompass:

    •   Increased officer training and/or oversight on civil rights and civil liberties issues.
    •   Identification of law enforcement officers who may require disciplinary investigation.
    •   Referral of matters to state or local authorities, such as state attorneys general or police
        oversight bodies.
    •   Referral of significant matters to the U.S. Department of Justice, Civil Rights Division
        for possible criminal investigation under 18 U.S.C. § 242 or other authorities, or civil
        litigation under 42 U.S.C. § 14141 or other authorities.
    •   Prospective inquiry, scrutiny, and/or requested reporting by the agency, which may
        require the collection of additional information on police conduct, including
        individualized data on individuals stopped or arrested by the agency.
    •   Changes to ICE's administration of the Secure Communities program for the individual
        jurisdiction, if appropriate.
    •   Improvements to the oversight of the Secure Communities program.
    •   Restrictions or cancellation of DHS grants to the agency pursuant to the DHS Title VI
        regulations, if appropriate.




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